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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)



                              DEBTORS’ WITNESS LIST
                       FOR SECOND DAY HEARING SET FOR
             DECEMBER 10, 2024 AT 10:00 A.M. (PREVAILING EASTERN TIME)

         The debtors and debtors in possession in the above-captioned cases (collectively, the

“Debtors”) hereby submit their witness list identifying the witnesses that the Debtors intend to

offer in connection with the hearing currently scheduled on December 10, 2024 at 10:00 a.m.

(prevailing Eastern Time) (the “Hearing”), at which the Debtors intend to present for final


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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing, LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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approval the (i) Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors

to Pay Certain Prepetition Claims of Certain Critical Vendors, Foreign Vendors, Shippers &

Logistics Providers, and 503(b)(9) Claimants; and (II) Granting Related Relief [Docket No. 10]

(the “Critical Vendors Motion”); (ii) Debtors’ Motion for Entry of Interim and Final Orders (I)

Authorizing the Debtors to (A) Obtain Senior Secured Priming Superpriority Postpetition

Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing Claims with

Superpriority Administrative Expense Status, (III) Granting Adequate Protection to the

Prepetition Secured Parties, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief

[Docket No. 51] (the “DIP Motion”); and (iii) Debtors’ Motion for Entry of Orders (I) (A)

Approving Bidding Procedures for the Sale of All or Substantially All of the Debtors’ Assets, (B)

Scheduling an Auction and a Sale Hearing and Approving the Form and Manner of Notice

Thereof, (C) Approving Assumption and Assignment Procedures, and (D) Granting Related Relief,

and (II) (A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests,

and Encumbrances, (B) Approving the Assumption and Assignment of Executory Contracts and

Unexpired Leases, and (C) Granting Related Relief [Docket No. 154] (the “Bidding Procedures

Motion”).

                                         WITNESSES

       The Debtors intend to elicit testimony from the following individuals:

               Andrew Laurence, Chief Executive Officer of Franchise Group, Inc.

       Mr. Laurence may testify (i) regarding his declaration in support of the DIP Motion, which

the Debtors anticipate filing with or before their reply in support of the DIP Motion, and (ii) in

support of the Debtors’ request for final approval of the relief requested in the DIP Motion. In

addition to offering Mr. Laurence’s live testimony, the Debtors may seek to admit Mr. Laurence’s

declaration into evidence.

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               David Orlofsky, Chief Restructuring Officer of Franchise Group, Inc.

       Mr. Orlofsky may testify (i) regarding his Declaration in Support of Debtors' Chapter 11

Petitions and First Day Pleadings [Docket No. 15], (ii) in support of the Debtors’ request for final

approval of the relief requested in the DIP Motion, (iii) regarding his declaration in support of the

Critical Vendors Motion, which the Debtors anticipate filing with or before their reply in support

of the Critical Vendors Motion, and (iv) in support of the Debtors’ request for final approval of

the relief requested in the Critical Vendors Motion. In addition to offering Mr. Orlofsky’s live

testimony, the Debtors may seek to admit Mr. Orlofsky’s declarations into evidence.

               Christopher Grubb, Partner at Ducera Partners LLC

       Mr. Grubb may testify (i) regarding his Declaration in Support of Debtors’ Motion for

Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Senior Secured

Priming Superpriority Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens

and Providing Claims with Superpriority Administrative Expense Status, (III) Granting Adequate

Protection to the Prepetition Secured Parties, (IV) Modifying the Automatic Stay, and (V) Granting

Related Relief [Docket No. 52], (ii) in support of the Debtors’ request for final approval of the

relief requested in the DIP Motion, (iii) regarding his Declaration in Support of the Debtors’

Motion for Entry of Orders (I) (A) Approving Bidding Procedures for the Sale of All or

Substantially All of the Debtors Assets, (B) Scheduling an Auction and a Sale Hearing and

Approving the Form and Manner of Notice Thereof, (C) Approving Assumption and Assignment

Procedures, and (D) Granting Related Relief [Docket 334] and (iv) in support of the Debtors’

request for final approval of the Bidding Procedures Motion. In addition to offering Mr. Grubb’s

live testimony, the Debtors may seek to admit Mr. Grubb’s declarations into evidence.




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               Neil A. Augustine, Vice Chairman and Co-Head of Financing Advisory and

Restructuring at Greenhill & Co.

      Mr. Augustine may be examined regarding the Declaration of Neil A. Augustine In Support

of the Objection of the Ad Hoc Group of Freedom Lenders to Debtors’ Bidding Procedures

Motion, [Docket No. 323].

       PLEASE TAKE FURTHER NOTICE THAT the Debtors reserve the right to call (i) any

witness identified by any other party in connection with the Hearing and (ii) any witnesses

necessary to rebut the testimony of any witness called or designated by any other party.

                                     [Signature Page Follows]




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Dated: December 6, 2024
       Wilmington, Delaware


                                YOUNG CONAWAY STARGATT & TAYLOR,
                                LLP

                                 /s/ Edmon L. Morton
                                 Edmon L. Morton (Del. No. 3856)
                                 Matthew B. Lunn (Del. No. 4119)
                                 Allison S. Mielke (Del. No. 5934)
                                 Shella Borovinskaya (Del. No. 6758)
                                 Rodney Square
                                 1000 North King Street
                                 Wilmington, Delaware 19801
                                 Telephone: (302) 571-6600
                                 Facsimile: (302) 571-1253
                                 emorton@ycst.com
                                 mlunn@ycst.com
                                 amielke@ycst.com
                                 sborovinskaya@ycst.com

                                 -and-

                                 WILLKIE FARR & GALLAGHER LLP
                                 James C. Dugan (admitted pro hac vice)
                                 Stuart R. Lombardi (admitted pro hac vice)
                                 Brady Sullivan (admitted pro hac vice)
                                 787 Seventh Avenue
                                 New York, New York 10019
                                 Telephone: (212) 728-8000
                                 Facsimile: (212) 728-8111
                                 jdugan@willkie.com
                                 slombardi@willkie.com
                                 bsullivan@willkie.com

                                 Proposed Co-Counsel to the Debtors
                                 and Debtors in Possession




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